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                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                       5   Fax: (702) 926-9683
                                                           Email: blarsen@shea.law
                                                       6           kwyant@shea.law

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                             Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                         Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      15   INTERNATIONAL SP,
                                                      16                         Plaintiff,                          Adversary Case No. 21-01167-abl
                                                      17   v.
                                                      18   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      19
                                                                                Defendant.
                                                      20

                                                      21   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      22
                                                                               Counter-Plaintiff,
                                                      23
                                                           v.
                                                      24
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      25   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP; ROBERT E. ATKINSON,
                                                      26   CHAPTER 7 TRUSTEE
                                                      27                        Counter-Defendants.
                                                      28


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                                                       1            REPLY TO TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND LP’S
                                                                                        COUNTERCLAIM
                                                       2
                                                                    Plaintiff HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND
                                                       3
                                                           INTERNATIONAL SP (“Plaintiff” or “HASelect”), by and through its counsel, Shea Larsen PC,
                                                       4
                                                           hereby        submits   this    Reply   to   Counterclaimant   TECUMSEH-INFINITY        MEDICAL
                                                       5
                                                           RECEIVABLES FUND LP’S (“Counterclaimant” or “Tecumseh”) Counterclaim as follows:
                                                       6
                                                                                                   GENERAL ALLEGATIONS
                                                       7
                                                                    1.       In response to Paragraph 1 of the Counterclaim, HASelect states that it is without
                                                       8
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                       9
                                                           such, denies those allegations.
                                                      10
                                                                    2.       In response to Paragraph 2 of the Counterclaim, HASelect states that it is without
                                                      11
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
              1731 Village Center Circle, Suite 150




                                                      12
                                                           such, denies those allegations.
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                                                                    3.       In response to Paragraph 3 of the Counterclaim, HASelect states that it is without
                                                      14
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                      15
                                                           such, denies those allegations.
                                                      16
                                                                    4.       In response to Paragraph 4 of the Counterclaim, HASelect states that it is without
                                                      17
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                      18
                                                           such, denies those allegations.
                                                      19
                                                                    5.       In response to Paragraph 5 of the Counterclaim, HASelect states that it is without
                                                      20
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                      21
                                                           such, denies those allegations.
                                                      22
                                                                    6.       In response to Paragraph 6 of the Counterclaim, HASelect states that it is without
                                                      23
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                      24
                                                           such, denies those allegations. HASelect further denies allegations contained in Paragraph 6 of the
                                                      25
                                                           Counterclaim on the basis that these allegations are improper legal conclusions.
                                                      26
                                                                    7.       In response to Paragraph 7 of the Counterclaim, HASelect states that it is without
                                                      27
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                      28


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                                                       1
                                                           such, denies those allegations. HASelect further denies allegations contained in Paragraph 7 of the
                                                       2
                                                           Counterclaim on the basis that these allegations are improper legal conclusions.
                                                       3
                                                                   8.       In response to Paragraph 8 of the Counterclaim, HASelect denies the allegations set
                                                       4
                                                           forth therein.
                                                       5
                                                                   9.       In response to Paragraph 9 of the Counterclaim, HASelect denies the allegations set
                                                       6
                                                           forth therein.
                                                       7
                                                                   10.      In response to Paragraph 10 of the Counterclaim, HASelect denies the allegations set
                                                       8
                                                           forth therein.
                                                       9
                                                                   11.      In response to Paragraph 11 of the Counterclaim, HASelect states that it is without
                                                      10
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                      11
                                                           such, denies those allegations.
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                                                      12
                                                                   12.      In response to Paragraph 12 of the Counterclaim, HASelect states that it is without
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SHEA LARSEN




                                                      13
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                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                      14
                                                           such, denies those allegations.
                                                      15
                                                                   13.      In response to Paragraph 13 of the Counterclaim, HASelect states that it is without
                                                      16
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                      17
                                                           such, denies those allegations.
                                                      18
                                                                   14.      In response to Paragraph 14 of the Counterclaim, HASelect denies the allegations set
                                                      19
                                                           forth therein.
                                                      20
                                                                                              FIRST CLAIM FOR RELIEF
                                                      21
                                                                         (DECLARATORY RELIEF AGAINST TRUSTEE AND HASELECT)
                                                      22
                                                                   15.      In response to Paragraph 15 of the Counterclaim, HASelect repeats and restates its
                                                      23
                                                           responses to the foregoing paragraphs as if the same were set forth at length herein.
                                                      24
                                                                   16.      In response to Paragraph 16 of the Counterclaim, HASelect states that it is without
                                                      25
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                      26
                                                           such, denies those allegations.
                                                      27
                                                                   17.      In response to Paragraph 17 of the Counterclaim, HASelect states that it is without
                                                      28


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                                                       1
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                       2
                                                           such, denies those allegations.
                                                       3
                                                                   18.      In response to Paragraph 18 of the Counterclaim, HASelect states that it is without
                                                       4
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                       5
                                                           such, denies those allegations.
                                                       6
                                                                   19.      In response to Paragraph 19 of the Counterclaim, HASelect states that it is without
                                                       7
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                       8
                                                           such, denies those allegations.
                                                       9
                                                                   20.      In response to Paragraph 20 of the Counterclaim, HASelect states that it asserts
                                                      10
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                      11
                                                                   21.      In response to Paragraph 21 of the Counterclaim, HASelect states that it asserts
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                                                      12
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
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                                                      13
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                                                                   22.      In response to Paragraph 22 of the Counterclaim, HASelect states that it asserts
                                                      14
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                      15
                                                                   23.      In response to Paragraph 23 of the Counterclaim, HASelect admits that it has a
                                                      16
                                                           perfected security interest in all of Debtor Infinity Capital Management, Inc.’s (“Debtor”) personal
                                                      17
                                                           property, including, but not limited to, the Collateral as defined in HASelect’s Adversary Complaint.
                                                      18
                                                           HASelect further admits that its security interest is senior and superior to the interests of Tecumseh
                                                      19
                                                           in the Collateral.
                                                      20
                                                                   24.      In response to Paragraph 24 of the Counterclaim, HASelect denies the allegations set
                                                      21
                                                           forth therein.
                                                      22
                                                                   25.      In response to Paragraph 25 of the Counterclaim, HASelect states that it asserts
                                                      23
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                      24
                                                                   26.      In response to Paragraph 26 of the Counterclaim, HASelect states that it asserts
                                                      25
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full. HASelect
                                                      26
                                                           also denies that Tecumseh is entitled to any relief relating to the Collateral at issue, and expressly
                                                      27
                                                           denies each and every assertion in the wherefore clause contained in Paragraph 26 of the
                                                      28


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                                                       1
                                                           Counterclaim.
                                                       2
                                                                                             SECOND CLAIM FOR RELIEF
                                                       3
                                                                         (DECLARATORY RELIEF AGAINST TRUSTEE AND HASELECT)
                                                       4
                                                                   27.      In response to Paragraph 27 of the Counterclaim, HASelect repeats and restates its
                                                       5
                                                           responses to the foregoing paragraphs as if the same were set forth at length herein.
                                                       6
                                                                   28.      In response to Paragraph 28 of the Counterclaim, HASelect states that it asserts
                                                       7
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                       8
                                                                   29.      In response to Paragraph 29 of the Counterclaim, HASelect states that it is without
                                                       9
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
                                                      10
                                                           such, denies those allegations.
                                                      11
                                                                   30.      In response to Paragraph 30 of the Counterclaim, HASelect states that it is without
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                                                      12
                                                           sufficient information or knowledge to either admit or deny the allegation set forth therein and, as
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SHEA LARSEN




                                                      13
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                                                           such, denies those allegations.
                                                      14
                                                                   31.      In response to Paragraph 31 of the Counterclaim, HASelect states that it asserts
                                                      15
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                      16
                                                                   32.      In response to Paragraph 32 of the Counterclaim, HASelect states that it asserts
                                                      17
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                      18
                                                                   33.      In response to Paragraph 33 of the Counterclaim, HASelect states that it asserts
                                                      19
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                      20
                                                                   34.      In response to Paragraph 34 of the Counterclaim, HASelect states that it asserts
                                                      21
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                      22
                                                                   35.      In response to Paragraph 35 of the Counterclaim, HASelect states that it asserts
                                                      23
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                      24
                                                                   36.      In response to Paragraph 36 of the Counterclaim, HASelect denies the allegations set
                                                      25
                                                           forth therein.
                                                      26
                                                                   37.      In response to Paragraph 37 of the Counterclaim, HASelect denies the allegations set
                                                      27
                                                           forth therein.
                                                      28


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                                                       1
                                                                   38.      In response to Paragraph 36 of the Counterclaim, HASelect admits that it has a
                                                       2
                                                           perfected security interest in all of Debtor’s personal property, including, but not limited to, the
                                                       3
                                                           Collateral as defined in HASelect’s Adversary Complaint. HASelect further admits that its security
                                                       4
                                                           interest is senior and superior to the interests of Tecumseh in the Collateral.
                                                       5
                                                                   39.      In response to Paragraph 39 of the Counterclaim, HASelect denies the allegations set
                                                       6
                                                           forth therein.
                                                       7
                                                                   40.      In response to Paragraph 40 of the Counterclaim, HASelect states that it asserts
                                                       8
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                       9
                                                                   41.      In response to Paragraph 41 of the Counterclaim, HASelect states that it asserts
                                                      10
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full. HASelect
                                                      11
                                                           also denies that Tecumseh is entitled to any relief relating to the Collateral at issue, and expressly
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                                                      12
                                                           denies each and every assertion in the wherefore clause contained in Paragraph 41 of the
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SHEA LARSEN




                                                      13
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                                                           Counterclaim.
                                                      14
                                                                                              THIRD CLAIM FOR RELIEF
                                                      15
                                                                         (DECLARATORY RELIEF AGAINST TRUSTEE AND HASELECT)
                                                      16
                                                                   42.      In response to Paragraph 42 of the Counterclaim, HASelect repeats and restates its
                                                      17
                                                           responses to the foregoing paragraphs as if the same were set forth at length herein.
                                                      18
                                                                   43.      In response to Paragraph 43 of the Counterclaim, HASelect denies the allegations set
                                                      19
                                                           forth therein.
                                                      20
                                                                   44.      In response to Paragraph 44 of the Counterclaim, HASelect states that it asserts
                                                      21
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                      22
                                                                   45.      In response to Paragraph 45 of the Counterclaim, HASelect states that it asserts
                                                      23
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                      24
                                                                   46.      In response to Paragraph 46 of the Counterclaim, HASelect states that it asserts
                                                      25
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                      26
                                                                   47.      In response to Paragraph 47 of the Counterclaim, HASelect states that it asserts
                                                      27
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                      28


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                                                       1
                                                                   48.      In response to Paragraph 48 of the Counterclaim, HASelect states that it asserts
                                                       2
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                       3
                                                                   49.      In response to Paragraph 49 of the Counterclaim, HASelect denies the allegations set
                                                       4
                                                           forth therein.
                                                       5
                                                                   50.      In response to Paragraph 50 of the Counterclaim, HASelect admits the allegations set
                                                       6
                                                           forth therein.
                                                       7
                                                                   51.      In response to Paragraph 51 of the Counterclaim, HASelect states that it asserts
                                                       8
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full.
                                                       9
                                                                   52.      In response to Paragraph 52 of the Counterclaim, HASelect states that it asserts
                                                      10
                                                           improper legal conclusions, and HASelect denies the allegations contained therein in full. HASelect
                                                      11
                                                           also denies that Tecumseh is entitled to any relief relating to the Collateral at issue, and expressly
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                                                      12
                                                           denies each and every assertion in the wherefore clause contained in Paragraph 52 of the
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
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                                                           Counterclaim.
                                                      14                                      AFFIRMATIVE DEFENSES

                                                      15          1.        The Counterclaim, in whole or in part, fails to state any claim against HASelect

                                                      16   upon which relief can be granted.

                                                      17          2.        Counterclaimant’s claims are barred by virtue of its own unclean hands and

                                                      18   inequitable conduct.

                                                      19          3.        Counterclaimant’s claims are barred by the doctrine of estoppel.

                                                      20          4.        Counterclaimant’s alleged damages either do not exist or were are caused by

                                                      21   Counterclaimant’s own conduct.

                                                      22          5.        Counterclaimant’s claims, each of them, are barred and precluded by HASelect’s

                                                      23   perfected security interest in the Tecumseh Receivables.

                                                      24          6.        Counterclaimant does not have a perfected security interest in any of Debtor’s

                                                      25   assets, including, but not limited to, the Tecumseh Receivables.

                                                      26          7.        Counterclaimant’s claims for a resulting, express, constructive, or equitable trust

                                                      27   cannot succeed as a matter of law because equitable claims are subordinate to and cannot overcome

                                                      28   perfected security interests.


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                                                       1
                                                                  8.       Counterclaimant’s claims fail as a matter of law because Counterclaimant was on
                                                       2
                                                           notice of HASelect’s perfected security interest in the personal property of Debtor, including, but
                                                       3
                                                           not limited to, the Tecumseh Receivables.
                                                       4
                                                                  9.       Counterclaimant was aware of Debtor’s business relationship HASelect and
                                                       5
                                                           HASelect’s security interest in substantially all of Debtor’s personal property prior to the inception
                                                       6
                                                           of Counterclaimant’s business relationship with Debtor.
                                                       7
                                                                  10.      Counterclaimant’s claims are barred by Counterclaimant’s own negligence.
                                                       8
                                                                  11.      Counterclaimant lacks the clear and convincing evidence necessary to establish a
                                                       9
                                                           resulting, express, constructive, or equitable trust.
                                                      10
                                                                  12.      Counterclaimant’s claims are barred because Debtor contributed money to
                                                      11
                                                           purchase or held an ownership interest in the Tecumseh Receivables.
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                                                      12
                                                                  13.      Counterclaimant’s claims are barred by the doctrine of waiver.
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SHEA LARSEN




                                                      13
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                                                                  WHEREFORE, HASelect prays for relief as follows:
                                                      14
                                                                   1.      Dismissal of the Counterclaim in its entirety;
                                                      15
                                                                   2.      An award of reasonable attorney’s fees and costs to HASelect for the defense of this
                                                      16
                                                           matter; and
                                                      17
                                                                   3.      For such other relief as the Court deems reasonable and proper.
                                                      18
                                                                   Dated this 10th day of December 2021.
                                                      19
                                                                                                           SHEA LARSEN
                                                      20

                                                      21                                                   /s/ Bart K. Larsen, Esq.
                                                                                                           Bart K. Larsen, Esq.
                                                      22                                                   Nevada Bar No. 8538
                                                                                                           1731 Village Center Circle, Suite 150
                                                      23                                                   Las Vegas, Nevada 89134

                                                      24                                                   Attorneys for HASelect-Medical Receivables
                                                                                                           Litigation Finance Fund International SP
                                                      25

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                                                      27

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                                                                                                         Page 8 of 10
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                                                       1                                     CERTIFICATE OF SERVICE

                                                       2        1.    On December 10, 2021, I served the following document(s): REPLY TO
                                                                      TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND LP’S
                                                       3              COUNTERCLAIM

                                                       4        2.    I served the above document(s) by the following means to the persons as listed
                                                                      below:
                                                       5
                                                                      ☒        a.       ECF System:
                                                       6
                                                                CLARISSE L. CRISOSTOMO on behalf of Counter-Defendant ROBERT E. ATKINSON
                                                       7        clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com

                                                       8        GERALD M GORDON on behalf of Counter-Claimant TECUMSEH-INFINITY
                                                                MEDICAL RECEIVABLES FUND, LP
                                                       9        ggordon@gtg.legal, bknotices@gtg.legal

                                                      10        MICHAEL D. NAPOLI on behalf of Defendant TECUMSEH-INFINITY MEDICAL
                                                                RECEIVABLES FUND, LP
                                                      11        michael.napoli@akerman.com,
                                                                cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras@akerm
              1731 Village Center Circle, Suite 150




                                                      12        an.com;masterdocketlit@akerman.com
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13        ARIEL E. STERN on behalf of Defendant TECUMSEH-INFINITY MEDICAL
                        (702) 471-7432




                                                                RECEIVABLES FUND, LP
                                                      14        ariel.stern@akerman.com, akermanlas@akerman.com

                                                      15
                                                                      ☐        b.       United States mail, postage fully prepaid:
                                                      16
                                                                      ☐        c.       Personal Service:
                                                      17
                                                                      I personally delivered the document(s) to the persons at these addresses:
                                                      18
                                                                                      ☐       For a party represented by an attorney, delivery was made by
                                                      19              handing the document(s) at the attorney’s office with a clerk or other person in
                                                                      charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                      20              in the office.

                                                      21                              ☐       For a party, delivery was made by handling the document(s)
                                                                      to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                      22              place of abode with someone of suitable age and discretion residing there.

                                                      23              ☐       d.      By direct email (as opposed to through the ECF System):
                                                                      Based upon the written agreement of the parties to accept service by email or a
                                                      24              court order, I caused the document(s) to be sent to the persons at the email
                                                                      addresses listed below. I did not receive, within a reasonable time after the
                                                      25              transmission, any electronic message or other indication that the transmission was
                                                                      unsuccessful.
                                                      26
                                                                      ☐        e.       By fax transmission:
                                                      27
                                                                      Based upon the written agreement of the parties to accept service by fax
                                                      28              transmission or a court order, I faxed the document(s) to the persons at the fax


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                                                       1               numbers listed below. No error was reported by the fax machine that I used. A copy
                                                                       of the record of the fax transmission is attached.
                                                       2
                                                                       ☐       f.       By messenger:
                                                       3
                                                                       I served the document(s) by placing them in an envelope or package addressed to
                                                       4               the persons at the addresses listed below and providing them to a messenger for
                                                                       service.
                                                       5
                                                                       I declare under penalty of perjury that the foregoing is true and correct.
                                                       6
                                                                       Dated: December 10, 2021.
                                                       7
                                                                                                        By: /s/ Bart K. Larsen, Esq,
                                                       8

                                                       9

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                                                      11
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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